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AO 245B (MIWD Rev. 01/13)- Judgment in a Criminal Case



                                  United States District Court
                                                   Western District of Michigan

UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE

-vs-                                                                Case Number: 1:14-CR-119

ERIC DEVIN MASTERS
                                                                    USM Number: 18153-040

                                                                    James K. Champion
                                                                    Defendant’s Attorney

THE DEFENDANT:
: pleaded guilty to Counts 3, 5, and 7 of the Indictment.
9 pleaded nolo contendere to Count(s) ___, which was accepted by the court.
9 was found guilty on Count(s) ___ after a plea of not guilty.
The defendant is adjudicated guilty of these offense(s):


 Title & Section                                              Offense Ended                Count No.
 18 U.S.C. § 2251(a) and (e)                                  August 25, 2013              Three
 18 U.S.C. § 2251(a) and (e)                                  August 25, 2013              Five
 18 U.S.C. § 2251(a) and (e)                                  August 25, 2013              Seven

Nature of Offense

Ct. 3 - Sexual Exploitation of a Child
Ct. 5 - Sexual Exploitation of a Child
Ct. 7 - Sexual Exploitation of a Child and Attempted Sexual Exploitation of a Child


The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

: Counts 1, 2, 4 and 6 of the Indictment are dismissed on the motion of the United States.
IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                    Date of Imposition of Sentence: March 18, 2015


Date:      March 18, 2015                                           /s/ Robert Holmes Bell
                                                                    ROBERT HOLMES BELL
                                                                    UNITED STATES DISTRICT JUDGE
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                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 200 months as to each of Counts 3, 5, and 7, all counts consecutive, for a total term of imprisonment
of 600 months.


:        The Court makes the following recommendations to the Bureau of Prisons:

                   -That the defendant receive sex offender and mental health assessment and counseling.

                   -That the defendant receive substance abuse treatment.

                   -That the defendant receive vocational programming opportunities.

                   -That the defendant receive educational opportunities that fit his needs.



: The defendant is remanded to the custody of the United States Marshal.
9 The Defendant shall surrender to the United States Marshal for this district:
     9 At _______________ on __________________.
     9 As notified by the United States Marshal.

9 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     9 Before 2:00 P.M. on __________.
     9 As notified by the United States Marshal.
     9 As notified by the Probation or Pretrial Services Office.


                                                              RETURN

I have executed this judgment as follows:




         Defendant delivered on                                               To

At                                                       , with a certified copy of this judgment.



                                                                        United States Marshal


                                                                        By:
                                                                                   Deputy United States Marshal
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                                                         SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 10 years as to each
of Counts 3, 5 and 7, to be served concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours
of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

9        The above drug testing condition is suspended, based on the court’s determination that the defendant
         poses a low risk of future substance abuse.
:        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
         weapon.
:        The defendant shall cooperate in the collection of DNA as directed by the probation officer.
:        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act
         (42 U.S.C. § 16901, et seq.) As directed by the probation officer, the Bureau of Prisons, or any state sex
         offender registration agency in which he or she resides, works, is a student, or was convicted of a
         qualifying offense.
9        The defendant shall participate in an approved program for domestic violence.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or probation officer;
2.       The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4.       The defendant shall support his or her dependents and meet other family responsibilities;
5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
6.       The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;
7.       The defendant shall refrain from use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9.       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
         of a felony, unless granted permission to do so by the probation officer;
10.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
         of any contraband observed in plain view by the probation officer;
11.      The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
         officer;
12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court; and
13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
         criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
         confirm the defendant’s compliance with such notification requirement.
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                                         SPECIAL CONDITIONS OF SUPERVISION


1.       The defendant shall provide the probation officer with access to any requested financial information.

2.       The defendant will participate in a sex offender assessment and/or treatment as approved by the probation officer
         which may include physiological testing such as polygraph, plethysmograph, and/or ABEL assessment. The defendant
         will contribute to the cost of treatment in an amount approved by the probation officer.

3.       The defendant’s residence shall be pre-approved by the probation officer.

4.       The defendant shall not associate with or have any contact with convicted sex offenders unless in a therapeutic setting
         and with the permission of the probation officer.

5.       The defendant shall not be employed in any position or participate as a volunteer in any activity that involves contact
         with children under the age of 18, except as approved by the probation officer.

6.       The defendant shall have no contact with minors (under the age of 18) without the written approval of the probation
         officer and shall refrain from entering into any area where children frequently congregate, including, but not limited to,
         schools, day care centers, theme parks, theaters, and playgrounds.

7.       The defendant will not purchase or possess photographic or video equipment without the prior knowledge and
         permission of the probation office.

8.       The defendant shall not possess any materials depicting sexually explicit conduct as defined in 18 U.S.C. §
         2256(2)(A)(I)-(v), including visual, auditory, telephonic, or electronic media, and computer programs or services.
         He/she shall not patronize any place whose primary purpose is to promote such materials or entertainment. The
         defendant shall not utilize 900 or adult telephone numbers or any other sex-related numbers.

9.       The defendant shall advise the probation officer of all pornographic materials owned or possessed by the defendant
         and shall not own or possess any sexually stimulating or sexually oriented material deemed inappropriate by the
         probation officer and/or treatment staff.

10.      The defendant shall advise anyone in his/her household that any computer in the household may be subject to
         computer monitoring.

11.      The defendant shall not use/possess alcohol.

12.      The defendant shall register as a sex offender.
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                                                CRIMINAL MONETARY PENALTIES1

        The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the
following pages.
               Assessment                                            Fine                                         Restitution

                   $300.00                                            -0-                                         $76,640.00

9        The determination of restitution is deferred until __________. An Amended Judgment in a Criminal Case
         (AO 245C) will be entered after such determination.

:        The defendant shall make restitution (including community restitution) to the following payees in the
         amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment,
unless specified otherwise in the priority order or percentage payment column below. However, pursuant to 18
U.S.C. § 3664(I), all nonfederal victims must be paid before the United States is paid.

                                                                                                                      Priority Order
                                              Total Amount                        Amount of                           or Percentage
        Name of Payee                            of Loss                      Restitution Ordered                      of Payment

 E.W.                                           $76,640.00                          $76,640.00


9        Restitution amount ordered pursuant to plea agreement:                        $

9        The defendant must pay interest on restitution and/or a fine of more than $2,500, unless the restitution or fine is paid
         in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
         options in the Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.
         § 3612(g).

:        The Court determined that the defendant does not have the ability to pay interest and it is ordered that:
         9 the interest requirement is waived for the fine.
         : the interest requirement is waived for the restitution.
         9 the interest requirement for the fine is modified as follows:
         9 the interest requirement for the restitution is modified as follows:




                   1
                     Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
         offenses committed on or after September 13, 1994, but before April 23, 1996.
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                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A        :         Lump sum payment of $300.00 due immediately, balance due
                   : not later than the term of supervised release, or
                   9 in accordance with 9 C, 9 D, 9 E, or 9 F, below; or
B        9         Payment to begin immediately (may be combined with C, D, or F, below); or
C        9         Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $___________ over a
                   period of ___________ (e.g., months or years), to commence ____________ (e.g., 30 or 60 days) after the
                   date of this judgment, or
D        9         Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ __________ over a period
                   of __________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after release from
                   imprisonment to a term of supervision; or
E        9         Payment during the term of supervised release will commence within ________ (e.g., 30 or 60 days) after
                   release from imprisonment. The court will set the payment plan based on an assessment of the defendant’s
                   ability to pay at that time; or
F        9          Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes imprisonment,
payment of criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those
payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of
the Court, 399 Federal Building, 110 Michigan N.W., Grand Rapids, MI 49503, unless otherwise directed by the court, the
probation officer, or the United States Attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

9        Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
corresponding payee, if appropriate:

9        The defendant shall pay the cost of prosecution.
9        The defendant shall pay the following court cost(s):
:        The defendant shall forfeit the defendant’s interest in the following property to the United States:      Pursuant to the
         Final Order of Forfeiture entered February 13, 2015.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
